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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                   Plaintiff,             )
                                          )
            v.                            )       No. 4:05-CR-294 (CEJ)
                                          )
MANUEL MONTES-CASTILLO,                   )
                                          )
                   Defendant.             )

                              MEMORANDUM AND ORDER

     Pursuant      to   28   U.S.C.       §    636(b),   the   Court     referred   all

pretrial motions in this case to United States Magistrate Judge

Thomas     C.    Mummert,     III        for    determination      and    recommended

disposition, where appropriate. On November 4, 2005, Judge Mummert

issued a Memorandum and an Order and Report and Recommendation in

which he recommended the denial of the motions filed by defendant

Manuel     Montes-Castillo          to     suppress      evidence,       to   suppress

statements, and to suppress electronic surveillance.

     The defendant has filed general, unsupported objections to

these recommendations.         After de novo review, the Court finds that

the magistrate judge’s factual findings are fully supported by the

testimony and exhibits presented at the suppression hearing and

that the magistrate judge’s legal conclusions are consistent with

the law applicable to the issues presented by the defendant’s

motions.    Therefore, the defendant’s objections will be overruled.

     Accordingly,

     IT    IS    HEREBY      ORDERED       that    the   Order     and    Report    and
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Recommendation of United States Magistrate Judge is sustained,

adopted and incorporated herein.

     IT IS FURTHER ORDERED that the motions of defendant Manuel

Montes-Castillo to suppress evidence [Doc. #129], to suppress

statements [Doc. #130], and to suppress electronic surveillance

[Doc. #131] are denied.




                                    _____________________________
                                    CAROL E. JACKSON
                                    UNITED STATES DISTRICT JUDGE

Dated this 6th day of December, 2005.




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